                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION


UNITED STATES OF AMERICA                     )      DOCKET NO. 1:06CR250
                                             )
               vs.                           )      ORDER TO DESTROY EVIDENCE
                                             )
10)GUSTAVO GALINDO HIDALGO                   )
                                             )



       THIS MATTER is before the Court on the Government's motion for destruction of a

firearm seized from the Defendant during the investigation of the charges herein. Defendant has

filed no response to the request.

       For the reasons stated in the Government's motion, the Court finds that the firearm,

described as a Ruger Model P95DC 9mm semi-automatic pistol, serial number 314-39824, now

in the possession of the Drug Enforcement Administration, should be destroyed in accordance

with the usual procedure for the destruction of such evidence.

       IT IS, THEREFORE, ORDERED that the Government's motion to destroy evidence is

hereby GRANTED, and the handgun described herein is ordered destroyed according to law.

                                                 Signed: May 14, 2008




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